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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

                                                   :
                                                   :
IN RE: OIL SPILL by the OIL RIG                        MDL NO. 2179
                                                   :
       “DEEPWATER HORIZON” in the
                                                   :
       GULF OF MEXICO, on
                                                   :
       APRIL 20, 2010
                                                   :
                                                   :   SECTION: J
This Pleading Applies To:
MDL 2179 B1 Amended Master Complaint And           :
All Cases In Pleading Bundle B1                    :
                                                   :
                                                   :   JUDGE BARBIER
                                                   :   MAG. JUDGE SHUSHAN
This Pleading Applies To:
No. 10-2771 (Limitation Action))
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..    . .. .. .. .. .. .. .. .. .. .. .. .. ..

                                 NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE that the undersigned parties, BP p.l.c., BP America

Production Company and BP Exploration & Production Inc., shall bring on for hearing BP

Defendants’ Motion To Dismiss Pursuant To Fed. R. Civ. P. 12(b)(1) And Fed. R. Civ. P.

12(b)(6) Plaintiffs’ First Amended Master Complaint, Cross-Claim, And Third-Party

Complaint For Private Economic Losses In Accordance With PTO No. 11 [CMO No. 1]

Section III (B1) [“B1 Bundle”] before the Honorable Carl J. Barbier, United States District

Court, Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana, 70130 at 9:30

a.m. on the 11th day of May, 2011, or as soon thereafter as counsel may be heard.

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                                   Respectfully submitted,

                                   By: /s/ Don K. Haycraft
                                   Don K. Haycraft (Bar #14361)
                                   R. Keith Jarrett (Bar #16984)
                                   LISKOW & LEWIS
                                   701 Poydras Street, Suite 5000
                                   New Orleans, Louisiana 70139-5099
                                   Telephone: (504) 581-7979
                                   Facsimile: (504) 556-4108

                                   and

                                   Richard C. Godfrey, P.C.
                                   J. Andrew Langan, P.C.
                                   Wendy L. Bloom
                                   Jeffrey Bossert Clark
                                   Kirkland & Ellis LLP
                                   300 North LaSalle Street
                                   Chicago, IL 60654
                                   312-862-2000 (Tel)
                                   312-862-2200 (Fax)

                                   Robert C. “Mike” Brock
                                   Covington & Burling LLP
                                   1201 Pennsylvania Avenue, NW
                                   Washington, DC 20004-2401
                                   202-662-5985


                                   Attorneys for BP p.l.c., BP America
                                   Production Company and BP Exploration &
                                   Production Inc.
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                                 CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on February 28, 2011, a copy of the foregoing pleading was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to all counsel of record registered to receive electronic service by operation of the court’s

electronic filing system. I also certify that I have mailed this filing by United States Postal

Service to all counsel of record who are not registered to receive electronic service by operation

of the court’s electronic filing system.



                                       /s/ Don K. Haycraft
                                           Don K. Haycraft
